Form ntcdefi (12/2017)
                                  UNITED STATES BANKRUPTCY COURT

                                          Western District of Washington
                                           700 Stewart St, Room 6301
                                               Seattle, WA 98101


In Re:       Shannon Joy Greydanus                                   Case No.: 19−13952−TWD
             Debtor(s).                                              Chapter: 13


                                        NOTICE OF DEFICIENT FILING

                                         FOR INDIVIDUAL DEBTORS



NOTICE IS HEREBY GIVEN TO THE DEBTOR that the above referenced case, filed on October 28, 2019,
contains one or more filing deficiencies which must be corrected. Failure to file the missing document(s) with the
court on or before the deadline(s) stated below may result in the dismissal of this case without further notice.

Additional information, rules and forms may be obtained from the court's website at www.wawb.uscourts.gov.

DEADLINE TO CORRECT THE FOLLOWING DEFICIENCIES:




DEADLINE TO CORRECT THE FOLLOWING DEFICIENCIES:                              November 12, 2019


Summary of Your Assets and Liabilities and Certain Statistical Information − Individual
Schedules A/B thru J
Statement of Financial Affairs
Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period
Chapter 13 Plan



CREDIT COUNSELING REQUIREMENT:

This requirement has been satisfied


DATED: October 28, 2019
                                                          Mark L. Hatcher
                                                          Clerk of the Bankruptcy Court


Personal checks tendered for payment of filing fees will not be accepted from Debtor(s). The court also does not
accept credit or debit cards from Debtor(s). Please submit your payment in the form of a cashier's check or money
order made payable to the U.S. Bankruptcy Court.




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